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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                                  June 18, 2024
                             SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

JAVIER MARTINEZ,                 §
                                 §
        Plaintiff,               §
VS.                              §                     CIVIL ACTION NO. 4:23-cv-01732
                                 §
SELECT PORTFOLIO SERVICING, INC. §
et al.,                          §
                                 §
        Defendants.              §

                                         FINAL JUDGMENT

       Plaintiff Javier Martinez (“Plaintiff”), a pro se litigant, filed an Emergency Petition for

Temporary Restraining Order with Preliminary Injunction and Asset Freeze and other Equitable

Relief. ECF No. 1-4. Defendant Select Portfolio Servicing, Inc. (“SPS”) filed a Motion for

Summary Judgment on all of Plaintiff’s claims. ECF No. 6. Plaintiff failed to respond by the

submission date. The Court held a hearing on SPS’s Motion for Summary Judgment on March 14,

2024. After considering the filings, the applicable law, and the arguments made at the hearing, the

Court granted SPS’s Motion for Summary Judgment and dismissed Defendant Hughes, Waters

and Askanase, LLP from the lawsuit as improperly joined. ECF No. 9.

       Pursuant to Federal Rule of Civil Procedure 58(a), final judgment is hereby ENTERED

for Defendants.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas, on this the 18th day of June, 2024.


                                                       _________________________________
                                                       KEITH P. ELLISON
                                                       UNITED STATES DISTRICT JUDGE



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